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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO
                    Alfred A. Arraj United States Courthouse Annex
                                 901 19th Street, A1041
                                Denver, Colorado 80294
                                     (303) 335-2350

ROBERT E. BLACKBURN
United States District Judge

                                   MEMORANDUM

TO:          Jeffrey P. Colwell, Clerk


FROM:        Judge Robert E. Blackburn


DATE:        October 20, 2021


RE:          Civil Action No. 21-cv-02818
             Douglas County School District RE-1 et al v. Douglas County Department
             of Public Health et al


       Exercising my prerogative as a Senior Judge, I request that this civil action be
reassigned.
